






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00640-CV







In re Guaranty Insurance Services, Inc.







ORIGINAL PROCEEDING FROM TRAVIS COUNTY





O P I N I O N


		Relator Guaranty Insurance Services ("Guaranty Insurance") has filed a petition
for&nbsp;writ of mandamus seeking to vacate the trial court's order disqualifying its counsel.  On
October&nbsp;12,&nbsp;2009, the trial court granted a motion to disqualify Guaranty Insurance's counsel,
Strasburger &amp; Price ("Strasburger"), on the ground that a paralegal who had performed work on
behalf of Guaranty Insurance while working for Strasburger had also performed work on behalf of
the opposing party, Trans-Global Solutions, Inc. ("Trans-Global"), during his previous employment
at the law firm of Godwin Pappas Langley Ronquillo, LLP ("Godwin").

		The Texas Supreme Court has held that when a paralegal works on a case at one firm,
and then moves to another firm on the opposing side of that litigation, two presumptions come into
play.  See Phoenix Founders, Inc. v. Marshall, 887 S.W.2d 831, 834-35 (Tex. 1994).  First, there is
a conclusive presumption that the paralegal acquired confidential information during his work on
the case at the first firm.  Id. at 834.  Second, there is a rebuttable presumption that the paralegal
shared confidential information about the case with the members of the new firm.  Id. at 835.  This
second presumption may be rebutted by a showing "that sufficient precautions have been taken to
guard against any disclosure of confidences."  Id.  

		Based on Phoenix Founders, the paralegal at issue here is subject to a conclusive
presumption that he obtained confidential information about the case while working at Godwin.  See
id. at 834.  This presumption cannot be rebutted.  See id.  The primary issue in this proceeding is
whether the trial court abused its discretion in determining that Strasburger failed to rebut the second
presumption--that the paralegal shared confidential information about the case with his new
employer.  See id. at 835.

		The presumption that confidential information will be imparted to a new employer
can be rebutted by a showing that certain precautions have been taken to safeguard client
confidences:


Specifically, the newly-hired paralegal should be cautioned not to disclose any
information relating to the representation of a client of the former employer.  The
paralegal should also be instructed not to work on any matter on which the paralegal
worked during the prior employment, or regarding which the paralegal has
information relating to the former employer's representation.  Additionally, the firm
should take other reasonable steps to ensure that the paralegal does no work in
connection with matters on which the paralegal worked during the prior employment,
absent client consent after consultation. 



Id.  

		At the hearing on the motion to disqualify, Strasburger presented evidence of the
extensive conflict-screening procedures it employed in hiring the paralegal, and opposing counsel
concedes that Strasburger's conflict-screening process is exemplary.  Unfortunately, these
precautions did not reveal the potential conflict related to the paralegal's work for Trans-Global
while at Godwin, leading him to eventually perform work on behalf of Guaranty Insurance in
connection with the same case. (1) 

		A  firm's screening procedures, however thorough, must actually be effective in order
to rebut the presumption of shared information.  See Phoenix Founders, 887 S.W.2d at 833
("[D]isqualification is not required if the [second] firm is able to establish that it has
effectively&nbsp;screened the paralegal from any contact with the underlying suit.") (emphasis added). (2) 
Similarly, the precautions taken must be "sufficient . . . to guard against any disclosure of
confidences."  Id. at 835.

		According to Strasburger, performing a conflicts check and instructing a paralegal
not to work on any matter on which he worked during prior employment is sufficient to rebut the
presumption of shared confidences, even if the paralegal, after being so instructed, works on such
matters anyway.  We disagree.  It is not merely the act of instructing the paralegal to avoid working
on both sides of the same litigation that serves to protect client confidences.  It is the implication that
the paralegal will actually follow the instructions and refrain from doing so.  Unless the instructions
are followed, they are of no benefit to the clients whose interests are meant to be protected. (3)  

		The supreme court held in Phoenix Founders that, in addition to giving the proper
instructions, "the firm should take other reasonable steps to ensure that the paralegal does no work
in connection with matters on which the paralegal worked during the prior employment."  Id.
(emphasis added).  In this case, Strasburger's precautions failed to ensure that the paralegal refrained
from working on the same matters he had worked on at Godwin, and thus failed to effectively guard
against the disclosure of confidences.  

		In a case where, as here, a paralegal worked on both sides of the same litigation, the
supreme court held that disqualification was required because the hiring firm did not take "the
necessary steps to isolate" the paralegal from the litigation.  In re American Home Prods. Corp.,
985&nbsp;S.W.2d 68, 75 (Tex. 1998).  While the firm in American Home Products failed to take any
screening measures whatsoever, we find that distinction from the present case to be irrelevant for
purposes of our analysis.  When a paralegal actually performs work on a case that he had previously
worked on for opposing counsel, the necessary steps to isolate him from such litigation were, by
definition, not taken.

		We recognize the difficult position in which Strasburger finds itself at this stage of
the proceedings, and further note the supreme court's warning against using a motion to disqualify&nbsp;as
a dilatory tactic.  See Phoenix Founders, 887 S.W.2d at 836.  Strasburger's conflict-screening
procedures were nothing if not thorough, but where a paralegal has actually been allowed to
work&nbsp;on&nbsp;both sides of the same litigation, even the most exhaustive attempts at screening cannot be
deemed effective. 

		Because Strasburger's screening procedure was ineffective to prevent the paralegal
at issue here from actually working on both sides of the same litigation, we hold that the trial court
did not abuse its discretion in granting the motion to disqualify.  See id. at 835 (stating that
absent&nbsp;client consent, "disqualification will always be required . . . when screening would
be&nbsp;ineffective").

		Accordingly, the petition for writ of mandamus is denied.  See Tex. R. App.
P.&nbsp;52.8(a). 			


						___________________________________________

						Diane M. Henson, Justice

Before Chief Justice Jones, Justices Waldrop and Henson

    Dissenting Opinion by Justice Waldrop


Filed:   April 16, 2010
1.   The record reflects that during his employment at the Godwin firm, the paralegal reviewed
the case file to identify persons with knowledge of relevant facts, prepared an initial draft of Trans-Global's response to Guaranty Insurance's request for disclosure, assisted in document production,
and communicated with Guaranty Insurance's counsel.  Once employed at Strasburger, the paralegal
organized pleadings and documents, and assisted in document production on behalf of Guaranty
Insurance.  Trans-Global discovered the conflict when the paralegal at issue sent email
correspondence to Trans-Global's counsel on behalf of Guaranty Insurance.  The email contained
redacted documents in response to a request for production.  In a follow-up phone conversation, the
paralegal informed counsel for Trans-Global that counsel could call him "on all issues related to the
Guaranty case."
2.   The Texas Supreme Court has since described its holding in Phoenix Founders as requiring
disqualification "unless the hiring firm effectively screens the paralegal from any contact with the
suit."  In re Meador, 968 S.W.2d 346, 353 (Tex. 1998) (emphasis added); see also In re Smith
Barney, Inc., 975 S.W.2d 593, 599 (Tex. 1998) ("[I]n Phoenix Founders, Inc. v. Marshall, we held
that a law firm's hiring opposing counsel's paralegal did not require the firm's disqualification in
the litigation if the paralegal was screened from any contact with the case at the firm.").  Here, it is
undisputed that the paralegal was not effectively screened from contact with the case.
3.   Strasburger also points to its evidence, in the form of affidavits, that no confidential
information was actually disclosed.  Whether or not confidential information was actually disclosed
is immaterial, as the "test for disqualification is met by demonstrating a genuine threat of disclosure,
not an actual materialized disclosure."  Grant v. Thirteenth Court of Appeals, 888 S.W.2d 466, 467
(Tex. 1994) (per curiam).  As the supreme court pointed out, "any rule focusing on actual disclosure
would place a virtually insurmountable burden on the party seeking disqualification, since the only
persons who know whether confidences were actually shared will generally be the very lawyers
seeking to avoid disqualification."  Id. 


